       Case 2:24-cv-01711-KBH          Document 13        Filed 06/08/24     Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________

MICHAEL LAWRENCE LOMBARDO,                                  Case No. 2:24-cv-01711-KBH

                      Plaintiff,

v.

CHRISTOPHER BRYAN LEONARD and
IMS TECHNOLOGY SERVICES, INC.,

                  Defendants.
_______________________________________

              PLAINTFF’S RESPONSE TO MOTION OF IMS TECHNOLOGY
            SERVICES INC. TO DISMSS PURSUANT TO FED. R. CIV. P. 12(B)(6)

       The Plaintiff, appearing pro se, responds to the referenced motion as follows:

       1.      In its motion, Defendant IMS Technology Services Inc. (“IMS Technology”)

argues that, because Pennsylvania law does not recognize a claim of respondeat superior as a

stand-alone claim and because I pled that claim against IMS Technology as such, my complaint

as against it must be dismissed.

       2.      Because I am within the time to amend my complaint as of right, Fed. R. Civ. P.

15(a)(1)(B), I have, simultaneously with the filing of this response, filed an amended complaint

in which I have, among things, corrected the pleading deficiency upon which IMS Technology

bases its motion to dismiss. I have a attached a copy of my amended complaint for the Court’s

convenience as Exhibit A. Alternatively, if I cannot amend my complaint as of right, I ask that

the Court grant me permission to file the amended complaint attached hereto.

       3.      Because my amended complaint moots the basis upon which IMS Technology

seeks dismissal, its motion must be denied.
       Case 2:24-cv-01711-KBH       Document 13      Filed 06/08/24   Page 2 of 2




       WHEREFORE, I respectfully request that IMS Technology’s motion be denied.

Dated: June 8, 2024                      Respectfully submitted,




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